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AO 245B (Rev. 09/19) Judgment in a Criminal Case Sheet 1

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
CASE NUMBER: 8:21-cr-270-KKM-TGW
vs. USM NUMBER: 68840-509
HAO KUO CHI
a/k/a “David Chi’
a/k/a “icloudripper4you” Defendant's Attorney: Edward Robinson, retained

The defendant pleaded guilty to Counts One through Four of the Information.

The defendant is adjudicated guilty of this offense:

JIILE.& SECTION NATURE OF OFFENSE OFFENSE ENDED COUNT
18 U.S.C. § 1030(a)(2)(C) Conspiracy to Commit Unauthorized August 11, 2021 One
18 U.S.C. § 1030(c)(2)(B) (ai) Access to Protected Computer

18 U.S.C. § 371

18 U.S.C. § 1030(a)(2)(C) Unauthorized Access to a Protected September 2, 2016 Two
18 U.S.C. § 1030(c)(2)(B) (i) Computer

18 U.S.C. § 2

18 U.S.C. § 1030(a)(2)(C) Unauthorized Access to a Protected September 2, 2016 Three
18 U.S.C. § 1030(c)(2)(B) (i) Computer

18 U.S.C. § 2

18 U.S.C. § 1030(a)(2)(C) Unauthorized Access to a Protected April 10, 2017 Four
18 U.S.C. § 1030(c)(2)(B)(i1) Computer

18 U.S.C. § 2

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States attorney for this district within thirty days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.

Day of Sentencing and
Imposition of Sentence: June 15, 2022

KATHRYN KIMBALL MIZELLE
UNITED STATES DISTRICT JUDGE

June | s , 2022
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AO 245B (Rev. 09/19) Judement in Caminal Shect 2 — Imprisonment
Defendant. HAO KUO CHI Judgment - Page __2_ of __7

Case No.: = 8:21-cr-270-KKM-TGW
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for one
hundred eight months, comprising concurrent terms of sixty months as to Counts One, Two, and Three and a
consecutive term of forty-eight months as to Count Four.

_X_ The Court recommends confinement at FCI Lompoc, California, and participation in mental health treatment.

X_ The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district.

__ at ___ a.m./p.m.on ___.
____ as notified by the United States Marshal.

_X_ By 12:00 p.m. on August 15, 2022, the defendant shall surrender for service of sentence at the institution
designated by the Bureau of Prisons

___. before 2 p.m. on .
_X_ as notified by the United States Marshal.
___ as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
United States Marshal
By:

Deputy United States Marshal
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AQ 245B (Rev. 09/19) Judgment in a Criminal Case Shect 3 — Supervised Release
Defendant: HAO KUO CHI Judgment - Page _3 of _7

Case No.: = 8:21-cr-270-KKM-TGW
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of thirty-six months, comprising
concurrent terms of thirty-six months as to Counts One through Four.

MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test

within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.
_X_ The above drug testing condition is suspended, based on the court’s determination
that you pose a low risk of future substance abuse. (check if applicable)

4, __ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute

authorizing a sentence of restitution. (check if applicable)

_X_ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. ___ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
§ 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender
registration agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if
applicable)

7. ___ You must participate in an approval program for domestic violence. (check if applicable)

wm

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case Sheet 4 — Supervised Release
Defendant: HAO KUO CHI Judgment - Page _4_ of _7

Case No.: — 8:21-cr-270-KKM-TGW

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify the
minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements in
your conduct and condition.

1. You must report to the probation office in the federal district where you are authorized to reside within 72 hours of
your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
within a different time frame :

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting

ermission from the court or the probation officer.

4, ou must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change. ©

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7 You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer

excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about your
work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before
the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected

change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first
getting the permission of the probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,

anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court. /
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation

officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A US. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of
this judgment containing these conditions. I understand additional information regarding these conditions is available at the

www.uscourts. gov.

Defendant's Signature Date

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AO 245B (Rev. 09/19) Judgment in a Cnminal Case Sheet 5 — Special Conditions

Defendant. HAO KUO CHI Judgment - Page __5_ of _7
Case No.: 8:21-cr-270-KKM-TGW

SPECIAL CONDITIONS OF SUPERVISION

1.) You shall participate in a mental health treatment program and follow the probation officer’s instructions regarding
implementation of this directive. You must contribute to the costs of these services not to exceed an amount
determined reasonable by the probation office’s sliding scale for mental health treatment services.

2.) You shall have no contact, direct or indirect, with the victims identified in Counts Two through Four (A.K., J.K.,
and K.N.).

3.) You shall submit to a search of your person, residence, place of business, any storage units under your control,
computer, or vehicle, conducted by the United States Probation Officer at a reasonable time and in a reasonable
manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release. You shall
inform any other residents that the premises may be subject to a search pursuant to this condition. Failure to submit to

a search could be grounds for revocation.
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AQ 245B (Rev. 09/19) Judgment in a Criminal Case Sheet 6 — Criminal Monetary Penalties
Defendant. HAO KUO CHI Judgment - Page _6_ of _7

Case No.:  8:21-cr-270-KKM-TGW
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

Assessment Restitution Fine AVAA Assessment* [VTA Assessment**
TOTALS $400 n/a waived n/a n/a

The determination of restitution is deferred. By that date, counsel is ordered to file proof of restitution
amounts as to each victim. An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
determination.

___._ The defendant must make restitution (including community restitution) to the following payee in the amount
listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
§ 3664(), all nonfederal victims must be paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS

Restitution amount ordered pursuant to plea agreement $
The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is

paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 7 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §

3612(g).
_— __ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the fine restitution.
the interest requirement for the fine restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for the offenses committed on or after September 13, 1994, but

before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case Sheet 7 — Schedule of Payments
Defendant: HAO KUO CHI Judgment - Page _7_ of _7

Case No.: — 8:21-cr-270-KKM-TGW

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. _X_ Lump sum payment of $400, due immediately

not later than ,or
in accordance with__ C,__ D,___ E, or __ F below; or

B. Payment to begin immediately (may be combined with ____C,_ D, or ____ F below); or
C. Payment in equal (¢.g., weekly, monthly, quarterly) mstallments of
$_o séover a period of (¢.g., months or years), to commence ____ days

(0.2, thirty or sixty days) after the date of this judgment, or

D. __ Payment in equal (¢.g., weekly, monthly, quarterly) installments of $ ___ over a period of
(¢.2., months or years) to commence (¢.g. thirty or sixty days) after release from imprisonment to

a term of supervision; or

E. Payment during the term of supervised release will commence within (¢.2., thirty or sixty
days) after release from imprisonment. The coutt will set the payment plan based on an assessment of the
defendant's ability to pay at that time, or

F. ____ Special instructions regarding the payment of criminal monetary penalties:
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVI'A assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
